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AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 UNITED STATES DISTRICT COURT
                                              DISTRICT OF HAWAII

 UNITED STATES EQUAL                                      JUDGMENT IN A CIVIL CASE
 EMPLOYMENT OPPORTUNITY
 COMMISSION                                               Case: CIV NO. 11-00257 LEK-RLP

                 Plaintiff,
                                                                      FILED IN THE
                   V.                                        UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF HAWAII

                                                                         March 16, 2015

                                                                   At 9 o’clock and 15 min a.m.
                                                                      SUE BEITIA, CLERK
 GLOBAL HORIZONS, INC., D/B/A
 GLOBAL HORIZONS MANPOWER,
 INC.; CAPTAIN COOK COFFEE
 COMPANTY LTD.; DEL MONTE
 FRESH PRODUCE (HAWAII), INC.;
 KAUAI COFFEE COMPANY, INC,;
 KELENA FARMS, INC.; MAC
 FARMS OF HAWAII, LLC N/K/A/
 MF NUT CO., LLC; MAUI
 PINEAPPLE COMPANY, LTD.
 A/K/A MAUI PINEAPPLE FARMS;
 ALEXANDER & BALDWIN, INC.;
 MASSIMO ZANETTI BEVERAGE
 USA, INC.; AND DOES 1-15,
 INCLUSIVE

                Defendants.



[ ]       Jury Verdict. This action came before the Court for a trial by jury. The issues
          have been tried and the jury has rendered its verdict.

[T] Decision by Court. This action came for hearing before the Court. The issues
          have been heard and a decision has been rendered.


          IT IS ORDERED AND ADJUDGED that Judgment is entered in favor of Plaintiff
          United States Equal Employment Opportunity Commission and against
          Defendants Global Horizons, Inc. And Maui Pineapple Company, Ltd. pursuant to
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          the "Findings Of Fact And Conclusions Of Law" filed on December 19, 2014
          (ECF NO. [767]).

          All claims against the remaining Defendants were resolved through Consent
          Decrees, filed November 27, 2013 (ECF NO. [651]), and September 3, 2014 (ECF
          NOS. [720], [721], [722], [723]). All of the cross-claims were dismissed by
          stipulations, filed September 30, 2014 (ECF NO. [734]), October 6, 2014 (ECF
          NO. [735]), October 7, 2014 (ECF NO. [736]), and October 16, 2014 (ECF NO.
          [751]) and by Entering Order on March 10, 2015 (ECF NO. [772]).




          UNITED STATES EQUAL EMPLOYMENT OPPORTUNITY COMMISSION V.
          GLOBAL HORIZONS, INC., ET AL.; CIVIL NO. 11-00257 LEK-RLP; JUDGMENT
          IN A CIVIL CASE




                  March 16, 2015                             SUE BEITIA
 Date                                            Clerk

                                                          /s/ Sue Beitia by EPS
                                                 (By) Deputy Clerk
